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                  IN THE UNITED STATES JUDICIAL DISTRICT COURT
                   FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 KANE COUNTY, UTAH (2), (3) and (4),
 a Utah political subdivision; and STATE OF              PLAINTIFFS’ RESPONSE TO
 UTAH,                                                  DEFENDANT UNITED STATES’
                                                         NOTICE OF SUPPLEMENTAL
        Plaintiffs,
                                                               AUTHORITY
 v.
                                                              Case No. 2:10-cv-01073
 UNITED STATES OF AMERICA,
                                                   (consolidated with 2:11-cv-1031, 2:12-cv-476)
        Defendant,
                                                            Judge: Hon. Clark Waddoups




       Plaintiffs Kane County, Utah and the State of Utah (“Plaintiffs”), provide this response to

the United States’ Notice of Supplemental Authority [ECF 762] (“Notice”).
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       As stated in the Notice, the Supreme Court in Wilkins v. United States, 598 U.S. --, 143

S.Ct. 870 (2023), held that the statute of limitations in the federal Quiet Title Act “(QTA)”, 28

U.S.C. 2409a(g) “is a non-jurisdictional claims-processing rule.” Id. at 881. This holding is

significant because a plaintiff has the burden of proving subject matter jurisdiction, and

challenges to subject matter jurisdiction can be raised at any time—even on appeal after final

judgment. “Given this risk of disruption and waste that accompanies the jurisdictional label,

courts will not lightly apply it to procedures Congress enacted to keep things running smoothly

and efficiently.” Id. at 876. “Loosely treating procedural requirements as jurisdictional risks

undermining the very reason Congress enacted them.” Id. Under Wilkins, the QTA’s limitations

period is to be construed as a “mundane statute-of-limitations.” Id. at 877 (quotation marks

omitted).

       The United States’ Amended Motion to Dismiss [ECF 671] (“Motion”) contends that

there is not yet a dispute as to title for some roads, and equally that the statute of limitations has

run. See, e.g., Motion at 12 n.4, 14-15. The Supreme Court’s holding in Wilkins, that the QTA

has a run-of-the-mill statute of limitations, confirms that the United States has not shown that

Plaintiffs filed too late. See State of Utah’s Opposition to Defendant The United States’

Amended Motion to Dismiss [ECF 686], at 4-12; Kane County’s Memorandum in Opposition to

the United States’ Amended Motion to Dismiss [ECF 691], at 28-34.

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        DATED this 25th day of May 2023.


                                           HOLLAND & HART LLP

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